                    Case 17-12528               Doc 1       Filed 04/21/17 Entered 04/21/17 11:52:21                               Desc Main
                                                              Document     Page 1 of 15

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Stephanie
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        M
     license or passport).         Middle name                                                     Middle name
     Bring your picture
                                   Doyle
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-5232
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
                    Case 17-12528           Doc 1         Filed 04/21/17 Entered 04/21/17 11:52:21                             Desc Main
                                                            Document     Page 2 of 15
Debtor 1   Stephanie M Doyle                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 8773 S Beck Place
                                 Hometown, IL 60456
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Cook
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this                      Over the last 180 days before filing this petition, I
                                        petition, I have lived in this district longer than            have lived in this district longer than in any other
                                        in any other district.                                         district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                    Case 17-12528            Doc 1          Filed 04/21/17 Entered 04/21/17 11:52:21                              Desc Main
                                                              Document     Page 3 of 15
Debtor 1    Stephanie M Doyle                                                                            Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                         that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                         out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          ND IL Ch 13
                                              District    Dismissed                    When      2/19/13                Case number      13-06124
                                              District                                 When                             Case number
                                              District                                 When                             Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                    Case 17-12528            Doc 1        Filed 04/21/17 Entered 04/21/17 11:52:21                                  Desc Main
                                                            Document     Page 4 of 15
Debtor 1    Stephanie M Doyle                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
                    Case 17-12528              Doc 1        Filed 04/21/17 Entered 04/21/17 11:52:21                            Desc Main
                                                              Document     Page 5 of 15
Debtor 1    Stephanie M Doyle                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
                    Case 17-12528           Doc 1        Filed 04/21/17 Entered 04/21/17 11:52:21                                 Desc Main
                                                           Document     Page 6 of 15
Debtor 1    Stephanie M Doyle                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
     after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                           5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                 1519, and 3571.
                                 /s/ Stephanie M Doyle
                                 Stephanie M Doyle                                                Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     April 21, 2017                                   Executed on
                                                 MM / DD / YYYY                                                   MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
                    Case 17-12528              Doc 1          Filed 04/21/17 Entered 04/21/17 11:52:21                             Desc Main
                                                                Document     Page 7 of 15
Debtor 1   Stephanie M Doyle                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Edwin L Feld                                                   Date         April 21, 2017
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Edwin L Feld
                                Printed name

                                Edwin L Feld & Associates, LLC
                                Firm name

                                1 N LaSalle Street
                                Suite 1225
                                Chicago, IL 60602
                                Number, Street, City, State & ZIP Code

                                Contact phone     312-263-2100                               Email address

                                6188070
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                 Case 17-12528                   Doc 1           Filed 04/21/17 Entered 04/21/17 11:52:21                  Desc Main
                                                                   Document     Page 8 of 15

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245   filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335   total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
                 Case 17-12528                   Doc 1           Filed 04/21/17 Entered 04/21/17 11:52:21                    Desc Main
                                                                   Document     Page 9 of 15


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property, you
 You must file Chapter 7 Statement of Your Current                                        must list it on Schedule C: The Property You Claim as
 Monthly Income (Official Form 122A–1) if you are an                                      Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                       $1,167   filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on                                               $1,717   total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on                                         Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay                                   but is also available to individuals. The provisions of
 unsecured creditors. If                                                                  chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                 Case 17-12528                   Doc 1           Filed 04/21/17 Entered 04/21/17 11:52:21                    Desc Main
                                                                  Document     Page 10 of 15
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file. Only
             an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
             what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
             and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that many
             people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
             inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan to
 Chapter 12: Repayment plan for family                                                    repay your creditors all or part of the money that you
             farmers or fishermen                                                         owe them, usually using your future earnings. If the
                                                                                          court approves your plan, the court will allow you to
                                                                                          repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235 filing fee                                                               debts for fraud or defalcation while acting in a
 +                  $75 administrative fee                                                       fiduciary capacity,
                   $310 total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge some                                        bankruptcy papers,
 debts that are not paid. You are eligible for chapter 13
 only if your debts are not more than certain dollar                                             certain debts for acts that caused death or
 amounts set forth in 11 U.S.C. § 109.                                                           personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                 Case 17-12528                   Doc 1           Filed 04/21/17 Entered 04/21/17 11:52:21                  Desc Main
                                                                  Document     Page 11 of 15
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint case,
 s.html#procedure.                                                                        both spouses must receive the briefing. With limited
                                                                                          exceptions, you must receive it within the 180 days
                                                                                          before you file your bankruptcy petition. This briefing is
 Bankruptcy crimes have serious consequences                                              usually conducted by telephone or on the Internet.

        If you knowingly and fraudulently conceal assets                                  In addition, after filing a bankruptcy case, you generally
        or make a false oath or statement under penalty of                                must complete a financial management instructional
        perjury—either orally or in writing—in connection                                 course before you can receive a discharge. If you are
        with a bankruptcy case, you may be fined,                                         filing a joint case, both spouses must complete the
        imprisoned, or both.                                                              course.

        All information you supply in connection with a                                   You can obtain the list of agencies approved to provide
        bankruptcy case is subject to examination by the                                  both the briefing and the instructional course from:
        Attorney General acting through the Office of the                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
        U.S. Trustee, the Office of the U.S. Attorney, and
        other offices and employees of the U.S.                                           In Alabama and North Carolina, go to:
        Department of Justice.                                                            http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 Make sure the court has your mailing address                                             AndDebtCounselors.aspx.

 The bankruptcy court sends notices to the mailing                                        If you do not have access to a computer, the clerk of
 address you list on Voluntary Petition for Individuals                                   the bankruptcy court may be able to help you obtain the
 Filing for Bankruptcy (Official Form 101). To ensure                                     list.
 that you receive information about your case,
 Bankruptcy Rule 4002 requires that you notify the court
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
    Case 17-12528   Doc 1   Filed 04/21/17 Entered 04/21/17 11:52:21   Desc Main
                             Document     Page 12 of 15


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      ACL
                      P.O. Box 27901
                      West Allis, WI 53227


                      AFNI
                      P.O. Box 3427
                      Bloomington, IL 61702


                      Asset Acceptance
                      P.O. Box 2036
                      Warren, MI 48090-2036


                      Baker & Miller
                      29 N Wacker Drive, Suite 500
                      Chicago, IL 60606


                      Bank of America
                      PO Box 851001
                      Dallas, TX 75285


                      Billstrom Pain
                      c/o Armor Systems
                      1700 Kieffer Dr, Suite 1
                      Zion, IL 60099


                      Billstrom Pain LLC
                      c/o Armor Systems
                      1700 Kieffer Dr, Suite 1
                      Zion, IL 60099


                      Bright House Networks
                      c/o Credit Protection
                      PO Box 802068
                      Dallas, TX 75380


                      Chase
                      Cardmember Service
                      PO Box 15153
                      Wilmington, DE 19886


                      Cheryl Choates
                      c/o Thomas Crooks
                      Three 1st National Plaza, S-1950
                      Chicago, IL 60602
Case 17-12528   Doc 1   Filed 04/21/17 Entered 04/21/17 11:52:21   Desc Main
                         Document     Page 13 of 15



                  Citi
                  PO Box 6241
                  Sioux Falls, SD 57117


                  CitiMortgage
                  PO Box 183040
                  Columbus, OH 43218


                  Credit Control
                  5757 Phantom Dr, Suite 330
                  Hazelwood, MO 63042


                  Credit Management Inc.
                  4200 International Pkwy
                  Carrollton, TX 75007


                  Dependon Collection Service
                  P.O. Box 4833
                  Oak Brook, IL 60522


                  Discover
                  PO Box 15316
                  Wilmington, DE 19850


                  Emergency Care Phy Services
                  Dept 77-6989
                  Chicago, IL 60678


                  Fifth Third Bank
                  5050 Kingsley Dr
                  Cincinnati, OH 45227


                  Genova Diagnostics
                  PO Box 3220
                  Asheville, NC 28802


                  Greenwood Chiro Wellness
                  c/o Keynote Consulting
                  220 W Campus Dr, Suite 102
                  Arlington Heights, IL 60004


                  IDES
                  PO Box 6996
                  Chicago, IL 60680
Case 17-12528   Doc 1   Filed 04/21/17 Entered 04/21/17 11:52:21   Desc Main
                         Document     Page 14 of 15



                  IRS
                  PO Box 7346
                  Philadelphia, PA 19101


                  ISAC
                  1755 Lake Cook Rd
                  Deerfield, IL 60015


                  Little Company of Mary Hospital
                  PO Box 97677
                  Chicago, IL 60678


                  Macys
                  PO Box 8218
                  Mason, OH 45040


                  Merchants Credit Guide
                  223 W Jackson Blvd, #700
                  Chicago, IL 60606


                  Metrosouth Med Center
                  12935 S Gregory St
                  Blue Island, IL 60406


                  Midwest Ctr Digestive Health
                  c/o NCO
                  PO Box 13570
                  Philadelphia, PA 19101


                  Ms. Miller
                  c/o State Farm Insurance
                  2702 Ireland Grove Rd
                  Bloomington, IL 61709


                  Navient
                  PO Box 9500
                  Wilkes Barre, PA 18773


                  Northwestern Memorial Hospital
                  PO Box 73690
                  Chicago, IL 60673


                  PRA
                  120 Corporate Blvd, Suite 100
                  Norfolk, VA 23502
Case 17-12528   Doc 1   Filed 04/21/17 Entered 04/21/17 11:52:21   Desc Main
                         Document     Page 15 of 15



                  Santander
                  PO Box 105255
                  Atlanta, GA 30348


                  Wells Fargo Bank, NA
                  P.O. Box 5169
                  Sioux Falls, SD 57117


                  WOW Internet and Cable
                  P.O. Box 5715
                  Carol Stream, IL 60197-5715
